 Case 22-00150-5-JNC   Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29   Page 1 of 6



                   UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           RALEIGH DIVISION

IN RE:                                )
                                      )       CASE NO. 22-02094-5-PWM
WILLIAMS LAND CLEARING,               )
GRADING, AND TIMBER LOGGER            )       CHAPTER 11
LLC,                                  )
                                      )
    Debtor.                           )


COMMERCIAL FUNDING, INC.,        )
                                 )
       Plaintiff                 )
                                 )
      v.                         )            ADVERSARY PROCEEDING NO.:
                                 )
WILLIAMS LAND CLEARING,          )
GRADING, AND TIMBER LOGGER,      )            22-00150-5-JNC
LLC; CARDINAL CIVIL              )
CONTRACTING, LLC; KB HOME        )
RALEIGH-DURHAM, INC.; ARRINGDON )
THD, LLC; BC BETHPAGE PARTNERS, )
LLC; TRI POINTE HOMES HOLDINGS, )
INC.; HABITAT FOR HUMANITY,      )
ORANGE COUNTY, N.C.; RST IV 401, )
LLC; HIGHLAND RIDGE, LLC a/k/a   )
HIGHLAND RIDGE-NC, LLC;          )
WELLFIELD DEVELOPMENT, LLC; ) KL
TOLL FORT AIV, LLC; and TOLL     )
SOUTHEAST LP COMPANY, INC.,      )
                                 )
      Defendants.                )


CARDINAL CIVIL CONTRACTING,           )
LLC,                                  )
                                      )
     Plaintiff,                       )
                                      )
     v.                               )




                                          1
     Case 22-00150-5-JNC     Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29      Page 2 of 6




WILLIAMS LAND CLEARING,        )
GRADING, AND TIMBER LOGGER,    )
LLC; LAMONTE WILLIAMS;         )
COMMERCIAL FUNDING, INC.; ACE  )
FUNDING SOURCE, LLC; COUCH OIL ) ADVERSARY PROCEEDING NO.:
COMPANY OF DURHAM, INC., and   )
APEX FUNDING SOURCE, LLC       ) 22-00151-5-JNC
                               )
       Defendants.             )
                               )
and                            )
                               )
COUCH OIL COMPANY OF DURHAM, )
INC.,                          )
                               )
       Third-Party Plaintiff,  )
                               )
v.                             )
                               )
WEST BEND MUTUAL INSURANCE )
COMPANY,                       )
                               )
       Third-Party Defendant.  )


COMMERCIAL FUNDING, INC.,                    )
                                             )
            Plaintiff,                       )
                                             )
v.                                           )    ADVERSARY PROCEEDING NO.:
                                             )
WILLIAMS LAND CLEARING,                      )    22-00149-5-JNC
GRADING, AND TIMBER LOGGER,                  )
LLC and CARDINAL CIVIL                       )
CONTRACTING, LLC,                            )
                                             )
            Defendants.                      )


                         JOINT MOTION TO DISMISS WITH PREJUDICE

        COME NOW Commercial Funding, Inc. (“CFI”), Williams Land Clearing, Grading, and Timber

                                                 2
   Case 22-00150-5-JNC          Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29                Page 3 of 6


Logger LLC (“Williams Land”), Cardinal Civil Contracting, LLC (“Cardinal”), and Couch Oil Company

of Durham, Inc. (“Couch Oil”), by and through counsel, pursuant to Federal Rule of Civil Procedure

41(a)(2), made applicable to the action by Bankruptcy Rule 7041, and move that the above–referenced

adversary proceedings be dismissed with prejudice, pursuant to the Settlement Agreement approved by

this Court by order dated May 15, 2024. [Dkt. 47], no. 22-00151-5-JNC. The Parties show the Court as

follows:

   1.   The Settlement Agreement provided that within thirty (30) days from the entry of the Court’s

        order approving the Settlement Agreement, Cardinal would pay the Settlement Payment to CFI,

        Couch Oil, and Williams Land.

   2. The Settlement Agreement further provided that, upon payment of the Settlement Payment, the

        Parties shall dismiss these adversary proceedings with prejudice.

   3. Cardinal made payment of the Settlement Payment in compliance with the Settlement Agreement.

   WHEREFORE, pursuant to the terms of the Settlement Agreement, the Parties hereby respectfully

move that these adversary proceedings, including all claims, counterclaims, crossclaims, and third-party

claims against all parties, be dismissed with prejudice, and for such other relief as may be just and proper.

This the 17th day of June, 2024.


  STEVENS MARTIN VAUGHN &                              BURNS DAY & PRESNELL, P.A.
  TADYCH, PLLC
                                                       /s/ Julia Kirkpatrick
  /s/ Kathleen O’Malley                                Julia Kirkpatrick
  Kathleen O’Malley                                    N.C. Bar. No. 29532
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  Tel. (919) 582-2300                                  Email: jkirkpatrick@bdppa.com
  Email: komalley@smvt.com                             Special Counsel for Williams Land Clearing,
  Attorneys for Williams Land                          Grading and Timber Logger, LLC


                                                      3
Case 22-00150-5-JNC       Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29            Page 4 of 6



                                         ANDERSON JONES, PLLC
SMITH DEBNAM NARRON DRAKE
SAINTSING & MYERS, L.L.P.
                                         /s/ Lindsey E. Powell
                                         LINDSEY E. POWELL
/s/ Byron L. Saintsing
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                                         LLC




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Durham, Inc.




                                            4
   Case 22-00150-5-JNC         Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29            Page 5 of 6



                                    CERTIFICATE OF SERVICE

        I, Kathleen O’Malley, do hereby certify that the foregoing JOINT MOTION TO DISMISS
WITH PREJUDICE has been served upon each of the parties listed below by placing copies of the same
in the United States mail, postage prepaid or by electronic mail as indicated below.

 Brian Behr (Via CM/ECF)                            Todd A. Jones (Via CM/ECF)
 Bankruptcy Administrator                           Lindsey E. Powell
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                                                    KB Home Raleigh-Durham, Inc.; Arringdon
                                                    THD, LLC; Tri Pointe Homes Holdings,
                                                    Inc.;Highland Ridge-NC, LLC; KL Toll Fort AIV,
                                                    LLC; and Wellfield Development, LLC
 Byron L. Saintsing (Via CM/ECF)                    John T. Benjamin, Jr. (Via CM/ECF)
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                                                    and Tri Pointe Homes Holdings, Inc.
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 Durham, Inc.
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 Chapel Hill, NC 27514                              Raleigh, NC 27605
 Attorneys for Habitat of Humanity Orange           Attorneys for Debtor
 County N.C., Inc.


       All other parties registered to receive electronic service through the CM/ECF system.


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Case 22-00150-5-JNC     Doc 85 Filed 06/17/24 Entered 06/17/24 12:31:29   Page 6 of 6




        This the 17th day of June, 2024.

                                     STEVENS MARTIN VAUGHN & TADYCH, PLLC

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                                           6
